Case 1:20-cv-00254-LPS   Document 15-1   Filed 05/28/20   Page 1 of 9 PageID #: 133




                         Exhibit A
Case 1:20-cv-00254-LPS                      Document 15-1                     Filed 05/28/20           Page 2 of 9 PageID #: 134

                                                                                                   USOO6636965B1

   (12) United States Patent                                                        (10) Patent No.:            US 6,636,965 B1
          Beyda et al.                                                              (45) Date of Patent:                    Oct. 21, 2003

   (54) EMBEDDING RECIPIENT SPECIFIC                                           EP          O 375 143 A2 A3      6/1990
           COMMENTS IN ELECTRONIC MESSAGES
           USING ENCRYPTION                                                                      OTHER PUBLICATIONS
                                                                               M2 Presswire, “NORTEL: Nortel delivers unified messag
   (75) Inventors: William J. Beyda, Cupertino, CA (US);                       ing to Microsoft & Lotus e-mail inboxes with Messanger
                   Shmuel Shaffer, Palo Alto, CA (US)                          3.0” Feb. 25, 1998, pp. 1–2.*
                                                                               Network Computing Oct. 15, 1997, Philip Carden, “Stored
   (73) Assignee: Siemens Information &                                        file encryption: Boiled eggs and Scrambled data', p. 2.*
                         Communication Networks, Inc., Boca                    Feb.      1999,       www.Security dynamics.com/products/
                         Raton, FL (US)                                        datasheets/secupc.html.
   (*) Notice:           Subject to any disclaimer, the term of this           * cited by examiner
                         patent is extended or adjusted under 35
                         U.S.C. 154(b) by 0 days.                              Primary Examiner-Gilberto Barrón
                                                                               Assistant Examiner-Christopher Brown
   (21) Appl. No.: 09/282479                                                   (57)                    ABSTRACT
   (22) Filed:     Mar. 31, 1999                                               A message processing System allows a user to create mes
   (51) Int. Cl."                                            H04L 9/00         Sages for delivery to a number of recipients. In addition, the
   (55 U.S.C. .713,152,713/165: 713/154;                                       user can create one or more comments or Special instructions
                                                                 709/206       I the message        are to be delivered t         than all of
                                                                               the recipientS Of the COmmOn meSSage. The COmmentS are
   (58) Field of Search ........................T 12.                          NSEd Such that they cannot be             s by all recipients
                           713/163, 154, 200; 709/               ":            of the message but only Selected recipients of the message.
                                                                      s        The message processing System may decrypt the comments
   (56)                    References Cited                                    and include them along with the common portion of the
                                                                               message prior to delivery to those recipients that are to
                   U.S. PATENT DOCUMENTS                                       receive the comments. Alternatively, a recipient of a com
                                                                               mon portion of a message Selects an icon or other prompt
          4,888,800
          5515,491 A
                    A * 12/1989 Marshall et al. ............ 380/281
                         5/1996 Bates et al.                                   indicating that a comment is attached to the message. The
          5,781732 A        7/1998 Adams                                       recipient is asked to enter a password or other Security code
          5.889,943 A       3/1999 Ji et al. ...................... 713,201    that causes the messaging System to determine whether the
          6,192,396 B1      2/2001 Kohler ....................... 709/206      recipient is to receive a comment and if So, to decrypt the
                                                                               attached comment.
                FOREIGN PATENT DOCUMENTS
   EP           O 306 781 A2 A3         3/1989                                                12 Claims, 4 Drawing Sheets


                                                                                                   -10

                                                                                                   Station         22b
                                                                                                      2



                                                                                                                   22C




                                                                                                                   22n
Case 1:20-cv-00254-LPS   Document 15-1        Filed 05/28/20   Page 3 of 9 PageID #: 135


   U.S. Patent           Oct. 21, 2003     Sheet 1 of 4             US 6,636,965 B1




                                                                 -10

                                    Message                                   22b
                                   Processor




                                         FIG. 1
Case 1:20-cv-00254-LPS   Document 15-1   Filed 05/28/20   Page 4 of 9 PageID #: 136


   U.S. Patent           Oct. 21, 2003   Sheet 2 of 4          US 6,636,965 B1



                 Generate Common Message for                        50
                         All Recipients


                  Select Recipients for Common                      52
                             Message


                Generate One or More Encrypted                       54
                Comments to Common Message

                 Select Recipients for Encrypted                     56
                                Comments


              Deliver Message including Encrypted                    58
                Comments to Message Processor


                                 FIG.2
Case 1:20-cv-00254-LPS        Document 15-1         Filed 05/28/20     Page 5 of 9 PageID #: 137


   U.S. Patent                Oct. 21, 2003        Sheet 3 of 4              US 6,636,965 B1




               70

        Get First Recipient on
            Address List



                                                              72
                                                    s
                                        Recipient to Receive
                                       One or More Encrypted
                                              Comments?


                                                                      Decrypt Comment(s)
                                         Forward COmnon
                                          Message Only to
                                             Recipient
                                                                        FOIWard Common
                                                                     Message and Decrypted
                                                                     Comment(s) to Recipient

         Get Next Recipient


                                                   All                               82
                                              Recipients on
                                               Address list
                                                Analyzed?


                                                FIG. 3
Case 1:20-cv-00254-LPS    Document 15-1       Filed 05/28/20     Page 6 of 9 PageID #: 138


   U.S. Patent           Oct. 21, 2003        Sheet 4 of 4            US 6,636,965 B1

                  Deliver Message and
                  Encrypted Comments                  00
                    to All Recipients


                Recipient Selects con of
                    Other Prompt to                  102
                   Decrypt Message


                 Recipient Prompted for
                   PaSSWOrd Or Other                 104
                    Security Feature

                                         06
                            ls
                   Recipient Password               Yes
                 Correct and is Recipient
                  Allowed to Review the
                         Comment?                                           108

                                                             Decrypt Comment
                                                               for Recipient
                     Deny Access to
                   Encrypted Comment



                            End

                                     FIG. 4
Case 1:20-cv-00254-LPS                 Document 15-1              Filed 05/28/20           Page 7 of 9 PageID #: 139


                                                       US 6,636,965 B1
                                1                                                                2
         EMBEDDING RECIPIENT SPECIFIC                                 In another embodiment of the invention, the common
       COMMENTS IN ELECTRONIC MESSAGES                             message portion is transmitted to all recipients along with an
              USING ENCRYPTION                                     icon or other prompt indicating that a comment is attached
                                                                   to the message. Upon Selecting the icon or prompt, the
            BACKGROUND OF THE INVENTION
                                                                   messaging System asks the recipient for a password or other
                                                                   Security code. If the password is entered correctly, the
      The present invention relates to messaging Systems in        messaging System checks to see whether the recipient is on
   general, and in particular to enhancements to electronic        a list of recipients to receive the comment, and if the
   messaging Systems. Such as voice mail, e-mail or multimedia     recipient is on the list, decrypts the comment for the recipi
   messaging Systems.                                          1O ent.
      E-mail and Voice mail are rapidly becoming the commu           These and other embodiments of the invention, as well as
   nication media of choice, as compared to the practice of its advantages, will be described in more detail below in
   drafting and circulating written memorandums, for many conjunction with the following drawings.
   businesses and individuals. While voice mail and e-mail
   allow information to be disseminated rapidly to a number of 15       BRIEF DESCRIPTION OF THE DRAWINGS
   recipients, it has generally been difficult to create custom      FIG. 1 is a block diagram of a message processing System
   ized messages for particular recipients without generating
   each message individually. For example, a president of a according to the resent invention;
   company may wish to inform the employees of a meeting to          FIG. 2 is a flow chart of the steps performed by a user to
   be held at a specific time and place. Therefore, the president create a message having comments that are transmitted to
   drafts an e-mail message to be sent to all employees inform fewer than all of the recipients of a common portion of the
   ing them of the meeting. In addition, the president may ask message in accordance with the present invention;
   certain managers to be prepared to discuss particular items       FIG. 3 is a flow chart of the steps performed by the
   at the meeting but for Some reason does not want all messaging System of the present invention to forward a
   employees to know this fact. In the past, if the president 25 comment to particular recipients of a common message; and
   wanted to inform the managers of their discussion topics,         FIG. 4 is a flow chart of the steps performed by the
   Separate messages had to be created and Sent to each messaging System to forward the comments to particular
   manager. Often, to give the appearance that everyone gets recipients of a common message according to another aspect
   the same message, the main message would be sent to of the present invention.
   everyone and then resent with comments to a Smaller group,
   e.g., managers. This results in the message Sender having to        DETAILED DESCRIPTION OF THE SPECIFIC
   Send the same message (with variations depending on the                              EMBODIMENTS
   distribution) multiple times, and Some recipients would be          The present invention provides a message processing
   forced to spend unnecessary time in opening and handling
   the multiple messages. In order to communicate the same        35 System that allows a user to attach comments to a common
   main message to all employees and to provide additional message for general distribution, wherein the comments are
   information to selected group(S) of those employees, mul tomeSSage. be received by fewer than all recipients of the common
   tiple messages with different distribution lists would need to
   be created, Sent and opened. Besides being inconvenient to          A block diagram of a message processing System accord
   users, this approach can also create bandwidth issues in 40 ing to the present invention is shown in FIG. 1. The system
   Some types of messaging Systems on, for example, local area 10 includes a message processor 20 that operates to receive
   networks.                                                         and Send messages between any number of user Stations 22a,
     From the above discussion, it is seen that more convenient    22b, 22c, . . . 22n. In one embodiment of the invention, the
   and efficient messaging Systems that allow Sending a general message processor 20 may be an e-mail Server and the user
   message with private comments for Selected recipients are 45 Stations 22 are personal computers that are logically con
   desirable.                                                   nected to the e-mail Server by a local area network or a wide
                                                                   area network Such as the Internet. A user of Station 22a
              SUMMARY OF THE INVENTION                          wishing to generate an e-mail message for distribution to
      The present invention allows a user to efficiently create other users, types the message on his local Station 22a along
   customized e-mail, Voice mail or multimedia messages by 50 with an address list of recipients and forwards the message
   creating a common portion of a message which is to be sent to the message processor 20. The message processor 20 then
   to a number of recipients, creating one or more comments routes the message to the recipients at the other Stations
   which are attached to the common message portion for 22b-22n. In another embodiment of the invention, the
   receipt by one or more particular recipients. Then, the user message processor 20 may be a voice mail System that is
   can cause the message with comment(s) to be sent to the 55 typically included as part of a private branch exchange
   recipients by the messaging System. The comments are (PBX) telephone system. Each of the stations 22a-22n
   encrypted Such that they cannot be read or heard by all comprises telephones with which Voice mail messages may
   recipients but only by the intended recipient(s).               be entered or received. A user of the Station 22a creates a
      In one embodiment of the invention, the messaging SyS Voice message by recording the message and designating
   tem analyzes an address list containing the recipients to 60 one or more recipients to whom the message is to be
   whom the message is to be addressed. If a recipient has been transmitted. The recorded message is transmitted to the
   designated to receive the comment, the comment is recipients by the message processor 20.
   decrypted and included with the common message portion          AS discussed earlier, if a user wished to create a common
   before transmission to the recipient. If the recipient is not message for distribution to a number of recipients and add
   designated to receive the comment, then the messaging 65 a comment or particular instructions to be delivered to fewer
   System transmits only the common message portion to the than all the recipients of the common message, it had been
   recipient.                                                    necessary for the user to create and Send Separate messages
Case 1:20-cv-00254-LPS                  Document 15-1                Filed 05/28/20             Page 8 of 9 PageID #: 140


                                                        US 6,636,965 B1
                                 3                                                                     4
   to those recipients of the common message and to those              delivery  may  require  that multiple copies of the message be
   recipients who were to receive the particular instructions or Stored at the message processor. In Some instances, the
   comments. The present invention provides the ability to memory of the message processor may be Scarce and
   create customized messages for a recipient by allowing a therefore it is desirable to limit the Storage of unnecessary
   user to create a single message containing a common copies of the message. In this case, the processing shown in
   message for general distribution and comments that can only FIG. 4 is used. In this embodiment, a recipient of a common
   be received by selected individuals.                                message is not provided with an encrypted comment until
      FIG. 2 illustrates a flow chart of creating a customized that recipient asks the message processor for the comment.
   message according to the present invention. Beginning at a
   Step 50, a Sending user generates a common message that is theBeginning            with a step 100, the message processor delivers
                                                                            common portion of a message and any encrypted com
   to be transmitted to all recipients. This message may be an ments           to all recipients. Accompanying the message is an
   e-mail message, a voice mail message, or a multimedia
   message Such as an audio or Video clip, etc. At a step 52, the icon or other prompt indicating that there is a comment
   Sending user Selects the recipients of the common message.          attached to the message. At a step 102, the recipient interacts
   At a step 54, the Sending user generates one or more 15 with their Station at which they receive the messages to
   comments in the common message, where the comments are Select the icon or other prompt required to review an
   to be sent to fewer than all of the recipients of the common encrypted comment. For example, in an e-mail System, there
   message portion. The comments may ask those recipients to may be visual icon that can be selected by the user. In a voice
   perform Some particular action or provide additional infor mail System, the System may provide a voice prompt asking
   mation to that contained in the common message. It is a recipient to Select a particular key to receive an encrypted
   generally desirable that the comments not be readily COmment.
   accessed by each recipient of the common portion of the               At a step 104, the message processing System asks the
   message. Therefore, the messaging System of the present recipient
   invention generally encrypts the comments Such that it Step 106,forthea message      password or Some other Security code. At a
   cannot be understood by everyone who receives the com recipient has entered theprocessor         correct
                                                                                                              determines whether the
                                                                                                            password  or Security code
   mon message unless the particular recipient is one of the 25
   Selected recipients for the comments. At a step 56, the and also determines whether the recipient is on an address
   Sending user creates an address list of the recipients who are list of those people Selected to receive the comment. If the
   authorized to receive the comments created at Step 54. At a answer to Step 106 is yes, the messaging System enables the
   Step 58, the common portion of the message including its decryption of the comment for review by the authorized
   address list, and the comments and its address list are             recipient at a step 108. If the recipient does not enter the
   delivered to the message processor for delivery to each correct password or Security code or the recipient is not on
   recipient.                                                          the list of recipients Selected to receive an encrypted
      FIG. 3 illustrates one embodiment of the present inven comment, then that recipient is denied access to the
   tion whereby the message processor determines whether a encrypted comment at a step 110.
   recipient is to receive either just the common portion of a 35 The process outlined in steps 100-110 may be carried out
   message or the common portion with one or more of the by transmitting information between the user Stations at
   comments. In the example shown in FIG. 3, this processing which a message is received and the message processor (for
   is performed in the message processor prior to delivery of example, depending on whether the correct password is
   the message to the recipients. This process may be advan provided to message processor by a recipient requesting
   tageous in a client/server architecture where it is desirable to 40 access to the encrypted comment, the message processor
   limit the transmission of unnecessary data to each recipient does or does not enable the recipient's Station to decrypt the
   in order to avoid unnecessary consumption of network comment). Alternatively, the message processor may send
   bandwidth.                                                          the encrypted comments as an applet or mini-program that
      Beginning at a step 70, the message processor analyzes contains the instructions required for the local processor
   the first recipient on the address list for the common portion 45 found at the user Stations to determine whether the user has
   of a message. At a step 74, the message processing System entered the correct password or Security code, to determine
   determines whether the recipient is also to receive one or whether the recipient is to receive an encrypted comment,
   more comments that accompany the common portion of the and to perform the decryption of the encrypted comment. In
   message. Whether a recipient is to receive a comment is yet another embodiment, the fact that a user has Successfully
   preferably determined by the presence of the recipient's 50 logged into their e-mail Server or other messaging Server
   name, e-mail address, or telephone extension on the address may serve as a Sufficient Security check for the user to
   list for the common portion of the message and on the decrypt an encoded comment.
   address list for the comments. If the answer to step 74 is no,         It should be noted that in Some embodiments, the message
   then the messaging System forwards only the common processing System may be provided with configuration
   portion of the message to that recipient. If the answer to Step 55 options to perform in accordance with either of the embodi
   74 is yes, the encrypted comment(s) is decrypted at Step 76.        ments of FIG. 3 or FIG. 4.
   At a step 78, the decrypted comment and common portion             AS can be seen from the above, the present invention
   of the message are forwarded to the recipient for their          allows a Sending user to create customized comments for
   review.                                                          Selected ones of the recipients of a common message with
      At a step 80, the message processor determines if all 60 out requiring the Sending user to Send Separate messages to
   recipients on the address list for the common portion of the the recipients of a comment. The comments may be in the
   message have been analyzed. If So, processing ends at Step nature of additional text, voice message or Video clips.
   82. If not, the next recipient on the address list is obtained Alternatively, the comment may consist of highlighting of
   at Step 84 and processing returns to Step 72 until all the particular words or phrases in the common portion of a
   recipients have been analyzed.                                65 meSSage.
      As will be appreciated from viewing the steps in FIG. 3,        While specific embodiments of the invention have been
   creating customized messages for each recipient prior to the illustrated and described, it will be appreciated that various
Case 1:20-cv-00254-LPS                  Document 15-1                 Filed 05/28/20             Page 9 of 9 PageID #: 141


                                                        US 6,636,965 B1
                                 S                                                                     6
   changes can be made therein without departing from the                    reviewed only by Selected recipients at a Selected
   Scope of the invention. For example, although the present                 Subset of Said number of Said user Stations,
   invention is described with respect to e-mail Systems, voice           a message processor coupled to the plurality of user
   mail Systems and multimedia messaging Systems, those                     Stations, the message processor being programmed to:
   skilled in the art will recognize that any type of electronic            encrypt said comment;
   messaging System may be adapted to incorporate the                       transmit Said common message portion without Said
   enhancements of the present invention.                                      comment to a list of recipients on a first address list
     What is claimed:
      1. A method of Sending messages in an electronic mes                     and transmit said common message portion with Said
   Saging System, comprising:                                                  encrypted comment to Selected recipients on a Sec
      creating an electronic message with a common message                       ond address list;
         portion that is to be delivered to a number of recipients,           determine whether a particular recipient is allowed to
                                                                                 decode Said encrypted comment by:
      creating a comment to Said common message portion in                       transmitting an icon or instruction with Said common
         Said electronic message, wherein Said comment can be 15                    message portion and Said encrypted comment; and
         received only by a selected Subset of said number of                    determining   if Said particular recipient has Selected
         recipients;                                                                the icon or performed the instruction and if So,
      determining Said number of recipients and Said Selected                       determining if Said particular recipient is on Said
         Subset by creating a first address list that specifies Said                Second address list of Said Selected recipients to
         number of recipients and creating a Second address list                    review Said comment.
         that specifies Said Selected Subset;                              7. The System of claim 6, wherein Said message processor
      delivering Said common message portion and Said com prompts the particular recipient for a password or Security
         ment to Said number of recipients by:                          code prior to decoding Said encrypted comment for the
         encrypting Said comment;                                       particular recipient.
         transmitting Said common message portion and Said 25 8. The System of claim 6, wherein the message processor
            encrypted comment to Said number of recipients, and transmits Said icon or instruction by transmitting an applet or
         determining whether a particular recipient is allowed to mini program with Said common message portion and Said
            decode Said encrypted comment by transmitting an encrypted comment.
            icon or instruction with Said common message por               9. The System of claim 6, wherein the message processor
            tion and Said encrypted comment and determining if is an e-mail Server coupled to user Stations comprising
            Said particular recipient has Selected the icon or computers.
            performed the instruction and if So, determining if            10. The System of claim 6, wherein the message processor
            said particular recipient is on said Second address list is a multimedia messaging System.
            of Said number of recipients Selected to review Said           11. A System for Sending messages in an e-mail messaging
            COmment.                                                 35 System, comprising:
      2. The method of claim 1, further comprising:                        a plurality of user Stations at which a user enters and
      prompting the particular recipient for a password of                    receives electronic messages, wherein Said messages
         Security code prior to decoding Said encrypted com                   include a common message portion that is to be deliv
         ment for the particular recipient.                                   ered to recipients at a number of Said user Stations and
      3. The method of claim 1, wherein the icon or instruction 40            a comment that is to be received by a Selected Subset of
   is transmitted by transmitting an applet-or mini-program                   recipients;
   with Said common message portion and Said encrypted                     a message processor coupled to the plurality of user
   COmment.                                                                   Stations, the message processor being programmed to:
      4. The method of claim 1, wherein the electronic mes                    transmit Said common message portion without Said
   Saging System is an e-mail Server coupled to user Stations 45                 comment to Said recipients and transmit an encrypted
   comprising computers.                                                         comment along with an icon or instruction to Said
      5. The method of claim 1, wherein the electronic mes                       Selected Subset of recipients, and
   Saging System is a multimedia messaging System.                            determine whether a particular recipient has Selected
      6. A System for delivering electronic messages to one or                   the icon or performed the instruction and if So to
   more recipients, comprising:                                      50          decode the encrypted comment for review by the
      a plurality of user Stations at which a user enters and                    particular recipient.
         receives electronic messages, wherein one of Said plu             12. The System of claim 11, wherein the message proces
         rality of users creates an electronic message with a Sor is programmed to prompt the particular user for a
         common message portion that is to be delivered to password or Security code upon Selecting the icon or per
         recipients at a number of Said user Stations and also 55 forming the instruction.
         creates a comment to Said common message portion of
         Said electronic message, wherein Said comment can be
